

People ex rel. Fast v Toulon (2023 NY Slip Op 00331)





People v Bouderau


2023 NY Slip Op 00331


Decided on January 25, 2023


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 25, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

2023-00552	DECISION, ORDER &amp; JUDGMENT
The
[*1]People of the State of New York, ex rel. Elena Fast,
on behalf of Raymond Bouderau, petitioner,
v Errol D. Toulon, etc., respondent.
	
	
The Fast Law Firm, P.C., New York, NY (Elena Fast pro se of counsel), for petitioner.
Raymond A. Tierney, District Attorney, Riverhead, NY (Kim Marie Carson of counsel), for respondent.
Writ of habeas corpus in the nature of an application to release Raymond Bouderau upon his own recognizance or, in the alternative, to set reasonable bail upon Suffolk County Indictment No. 73673/2022.



ADJUDGED that the writ is sustained, without costs or disbursements, to the extent that bail upon Suffolk County Indictment No. 73673/2022 is set in the sum of $5,000,000 posted in the form of an insurance company bail bond, the sum of $5,000,000 posted in the form of a partially secured bond, with the requirement of 10% down, or the sum of $500,000 deposited as a cash bail alternative, on condition that, in addition to posting a bond or depositing the cash alternative set forth above, Raymond Bouderau shall (1) wear an electronic monitoring bracelet, with monitoring services to be provided by a qualified entity pursuant to CPL 510.40(4)(c), and any violations of the conditions set forth herein relating to the electronic monitoring shall be reported by the electronic monitoring service provider to the Office of the District Attorney of Suffolk County, and further proceedings pursuant to CPL 510.40(4)(d), if any, shall be conducted by the Supreme Court, Suffolk County; (2) remain within and shall not travel beyond the geographical limits of the counties of Nassau and Suffolk, and the City of New York; (3) surrender all passports, if any, he may have to the Office of the District Attorney of Suffolk County, or, if he does not possess a passport, he shall provide to the Office of the District Attorney of Suffolk County an affidavit, in a form approved by the Office of the District Attorney of Suffolk County, in which he attests that he does not possess a passport, and shall not apply for any new or replacement passports; and (4) provide to the Office of the District Attorney of Suffolk County an affidavit, in a form approved by the Office of the District Attorney of Suffolk County, in which he attests that if he leaves the jurisdiction he agrees to waive the right to oppose extradition from any foreign jurisdiction; and it is further,
ORDERED that upon receipt of a copy of this decision, order and judgment together with proof that Raymond Bouderau has given an insurance company bail bond in the sum of $5,000,000, or has given a partially secured bond in the sum of $5,000,000, with the requirement of 10% down or has deposited the sum of $500,000 as a cash bail alternative and (1) has arranged for electronic monitoring with a qualified entity pursuant to CPL 510.40(4)(c); (2) has surrendered all passports, if any, he may have to the Office of the District Attorney of Suffolk County, or, if he does not possess a passport, has provided to the Office of the District Attorney of Suffolk County an [*2]affidavit, in a form approved by the Office of the District Attorney of Suffolk County, in which he attests that he does not possess a passport, and shall not apply for any new or replacement passports; and (3) has provided to the Office of the District Attorney of Suffolk County an affidavit, in a form approved by the Office of the District Attorney of Suffolk County, in which he attests that if he leaves the jurisdiction he agrees to waive the right to oppose extradition from any foreign jurisdiction, the Warden of the facility at which Raymond Bouderau is incarcerated, or his or her agent, is directed to immediately release Raymond Bouderau from incarceration.
DUFFY, J.P., WOOTEN, FORD and WAN, JJ., concur.
ENTER:
Maria T. Fasulo
Clerk of the Court








